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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

JULIAN GARRETT,
ADC #153237                                                                        PLAINTIFF

                                    4:20CV00484-JM-JTK

WALTER WASHINGTON, et al.                                                      DEFENDANTS

                                        JUDGMENT

       Pursuant to the Order entered in this matter on this date, it is Considered, Ordered, and

Adjudged that this case is DISMISSED with prejudice.

       IT IS SO ADJUDGED this 17th day of May, 2021.




                                            _________________________________
                                            JAMES M. MOODY, JR.
                                            UNITED STATES DISTRICT JUDGE




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